CaSe: lilS-Cr-OOOS4-|\/|RB DOC #Z 51 Filed: 01/17/14 Page: l Of 2 PAGE|D #Z 215

UNI'I`ED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,

v.

ABUBAKAR ATIQ DURRANI,
Defendant.

 

Case No. l:l3-cr-084

Judge Michael R. Barrett

 

MOTION TO WITHDRAW AS COUNSEL

 

Glenn V. Whitaker, Eric W. Richardson, Joseph M. Brunner, Aaron J. Stuckey, and the
law firm of Vorys, Sater, Seymour and Pease (collectively “Vorys”) move for permission to
Withdraw as counsel of record in this matter for defendant Abubakar Atiq Durrani. Good cause
exists to permit this Withdraw under the Ohio Rules of Professional Conduct, as the defendant
has fled the United States and fundamental disagreements between Vorys and the defendant have
developed, communication between Vorys and the defendant has ceased, and the defendant has
failed to fulfill financial obligations to Vorys for its services Vorys requests that this Withdraw

take effect immediately upon entry of the order granting this motion. A draft order is attached

for the Court’s consideration

CaSe: 1213-CI’-00084-|\/|RB DOC #Z 51 Filed: 01/17/14 Page: 2 Of 2 PAGE|D #Z 216

Respectfully submitted,

/s/ Glenn V. Whitaker

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Counselfor Defendant Abubakar Atiq Durrani

CERTIFICATE OF SERVICE
l hereby certify that a copy of the foregoing Motion to Withdraw was filed on January 17,
2014 via the Court’s CM/ECF system, which will give notice of this filing to all counsel of
record. Counsel may access this filing through the Court’s CM/ECF system. A copy of this
Motion to Withdraw was also served via regular United States mail on defendant at his last

known address

/s/ Glenn V. Whitaker
Glenn V. Whitaker

